                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 1 of 23



                     1   MORGAN, LEWIS & BOCKIUS LLP
                         John S. Battenfeld, Bar No. 119513
                     2   john.battenfeld@morganlewis.com
                         Brian D. Fahy, Bar No. 266750
                     3   brian.fahy@morganlewis.com
                         300 South Grand Avenue
                     4   Twenty-Second Floor
                         Los Angeles, CA 90071-3132
                     5   Tel: +1.213.612.2500
                         Fax: +1.213.612.2501
                     6
                         MORGAN, LEWIS & BOCKIUS LLP
                     7   Linda Z. Shen, Bar No. 294039
                         linda.shen@morganlewis.com
                     8   2049 Century Park East, Suite 700
                         Los Angeles, California 90067-3109
                     9   Tel: +1.310.907.1000
                         Fax: +1.310.907.1001
                    10
                         MORGAN, LEWIS & BOCKIUS LLP
                    11   Amy A. McGeever, Bar No. 296758
                         amy.mcgeever@morganlewis.com
                    12   One Market, Spear Street Tower
                         San Francisco, CA 94105-1596
                    13   Tel: +1.415.442.1000
                         Fax: +1.415.442.1001
                    14
                         Attorneys for Defendants AMAZON.COM, INC.
                    15   |and AMAZON LOGISTICS, INC.

                    16                                UNITED STATES DISTRICT COURT

                    17                             NORTHERN DISTRICT OF CALIFORNIA

                    18
                         SEAN M. HOYT, Jr.,                          Case No. 3:19-cv-00218
                    19
                                               Plaintiff,            DEFENDANTS’ NOTICE OF MOTION
                    20                                               AND MEMORANDUM OF POINTS AND
                                         vs.                         AUTHORITIES IN SUPPORT OF MOTION
                    21                                               TO DISMISS, STAY OR TRANSFER THIS
                         AMAZON.COM, INC.; AMAZON                    ACTION
                    22   LOGISTICS, INC.,
                                                                     [Request for Judicial Notice and Proposed
                    23                                               Order filed concurrently herewith]
                    24                                               Date:        March 28, 2019
                                                                     Time:        9:00 a.m.
                    25                                               Crtrm:       F, 15th Floor
                                                                     Judge:       Hon. Jacqueline Scott Corley
                    26
                                                                     Trial Date: N/A
                    27                                               Date Action Filed: November 7, 2018
                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                              CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                              AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                          STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 2 of 23



                     1            TO THE UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT

                     2   OF CALIFORNIA AND TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:

                     3            PLEASE TAKE NOTICE that on March 28, 2018 at 9:00 a.m. pursuant to Local Rule 83-

                     4   1.3.1, (or as soon thereafter as the matter may be heard in Courtroom F, 15th Floor of the above-

                     5   entitled Court), Defendants AMAZON.COM, INC. and AMAZON LOGISTICS, INC.

                     6   (collectively, “Defendants” or “Amazon”) will move the Court for an order, pursuant to the first-

                     7   to-file rule or 28 U.S.C. §1404(a), dismissing or staying this action in favor of nine earlier-filed

                     8   similar actions – including the first-filed Bernadean Rittmann, Freddie Carroll, Julia Wehmeyer,

                     9   and Raef Lawson, individually and on behalf of all others similarly situated v. Amazon.Com, Inc.,
                    10   and Amazon Logistics, Inc., Western District of Washington, Case No. 2:16-cv-01554

                    11   (“Rittmann”) and the consolidated case Iain Mack v. Amazon.com Inc. and Amazon Logistics,

                    12   Inc., Western District of Washington, Case No. 2:17-cv-01554 – or transferring this action to the

                    13   Western District of Washington where Rittmann is pending. Dismissal, stay or transfer in light of

                    14   Rittmann is appropriate because Rittmann is the first-filed Amazon delivery partner

                    15   misclassification case, involves all or a material part of the subject matter of the instant action,

                    16   alleges the same underlying theory of liability, seeks substantially similar relief, and involves the

                    17   same parties – California delivery partners and Amazon.

                    18            This motion is made pursuant to the first-to-file rule of federal comity. See Pacesetter

                    19   Sys, Inc. v. Medtronic, Inc., 678 F.2d 93, 94-95 (9th Cir. 1982); Cedars-Sinai Med. Ctr. v.
                    20   Shalala, 125 F.3d 765, 769 (9th Cir. 1997). Where, as here, an action is brought and there is

                    21   another earlier filed case (or here, nine earlier filed cases) alleging the same or similar

                    22   misclassification-related claims on behalf of the same or a similar group of putative aggrieved

                    23   employees (Amazon delivery partners) against the same defendant (Amazon), principles of

                    24   federal judicial comity compel dismissal, stay or transfer. Id.

                    25            Under Federal Rule of Civil Procedure 12(b)(6) and 12(f), the Court should also dismiss

                    26   and/or strike Plaintiff’s PAGA claim for waiting time penalties pursuant to Labor Code section

                    27   203 because these are statutory penalties, and PAGA only authorizes the recovery of civil

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                         CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                         AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                     STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 3 of 23



                     1   penalties. See Cal. Lab. Code § 2699(a); Esparza v. KS Indus., LP, 13 Cal. App. 5th 1228, 1242

                     2   (2017).

                     3             This motion is made following the disclosure to opposing counsel of the substance of this

                     4   motion, which took place on February 14, 2019. The foregoing motion is based on this Notice of

                     5   Motion, the accompanying Memorandum of Points and Authorities and the Request for Judicial

                     6   Notice filed concurrently herewith, all pleadings and motions on file in this action, and on such

                     7   further written or oral argument as may be permitted by this Court.

                     8
                         Dated: February 20, 2019                            MORGAN, LEWIS & BOCKIUS LLP
                     9
                    10
                                                                             By /s/ John S. Battenfeld
                    11                                                          John S. Battenfeld
                                                                                Brian D. Fahy
                    12                                                          Linda Z. Shen
                                                                                Amy A. McGeever
                    13
                                                                                 Attorneys for Defendants
                    14                                                           AMAZON.COM, INC. and
                                                                                 AMAZON LOGISTICS, INC.
                    15

                    16

                    17

                    18

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                       CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO
                                                                                       AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                   STAY OR TRANSFER ACTION
                               Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 4 of 23



                     1                                                    TABLE OF CONTENTS

                     2                                                                                                                                    Page

                     3   I.       INTRODUCTION .............................................................................................................. 1
                     4   II.      RELEVANT FACTUAL AND PROCEDURAL BACKGROUND.................................. 2
                                  A.   The Amazon Flex Program ..................................................................................... 2
                     5
                                  B.   Amazon Flex Independent Contractor Terms of Service ........................................ 2
                     6            C.   Other Previously-Filed Pending Delivery Partner Cases ........................................ 2
                     7                 1.     Rittmann et al. – Western District of Washington – Consolidated
                                              with Lawson/Mack ...................................................................................... 2
                     8                 2.     Knipe v. Amazon – Southern District of California..................................... 4
                     9                 3.     Keller v. Amazon - Northern District of California ..................................... 4
                                      4.     Clinton v. Amazon – Orange County Superior Court.................................. 5
                    10
                                      5.     Luckett et al. v. Amazon – Alameda County Superior Court ...................... 5
                    11                6.     Ponce v. Amazon – Northern District of California .................................... 6
                    12                7.     Romero v. Amazon – Orange County Superior Court ................................. 6
                                      8.     Ronquillo v. Amazon – Central District of California ................................. 7
                    13
                                      9.     Plaintiff’s Action ......................................................................................... 7
                    14   III.     ARGUMENT ...................................................................................................................... 8
                    15            A.  Under the First-to-File Rule, This Action Should Be Dismissed, Stayed or
                                      Transferred to the Rittmann Court .......................................................................... 8
                    16            B.  Transfer Is Also Appropriate Pursuant to 28 U.S.C. § 1404(a) ............................ 12
                    17            C.  This Action Should Be Dismissed in Light of Knipe, Keller and Ronquillo ........ 14
                                  D.  The Court Should Dismiss and/or Strike Plaintiff’s PAGA Claim for
                    18                Section 203 Statutory Penalties............................................................................. 15
                    19   IV.      CONCLUSION ................................................................................................................. 16

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                                             CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                                              i               AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                                                                                                                               STAY OR TRANSFER ACTION
                         DB2/ 35921471
                            Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 5 of 23



                     1                                                  TABLE OF AUTHORITIES
                                                                                                                                                      Page(s)
                     2   FEDERAL CASES
                     3   Adoma v. Univ. of Phoenix, Inc.,
                            711 F. Supp. 2d 1142 (E.D. Cal. 2010) .....................................................................................10
                     4

                     5   Alltrade, Inc. v. Uniweld Prods., Inc.,
                             946 F.2d 622 (9th Cir. 1991)...........................................................................................8, 10, 11
                     6
                         B & B Hardware, Inc. v. Hargis Indus., Inc.,
                     7      2006 WL 4568798 (C.D. Cal. Nov. 30, 2006) ..........................................................................13
                     8   Cadenasso v. Metro. Life Ins. Co.,
                            2014 WL 1510853 (N.D. Cal. Apr. 15, 2014) ..........................................................................13
                     9
                         Carrera v. First Am. Home Buyers Prot. Co.,
                    10
                            2009 WL 10674763 (C.D. Cal. Nov. 30, 2009) ..................................................................12, 14
                    11
                         Centocor, Inc. v. MedImmune, Inc.,
                    12      No. C 02-03252 CRB, 2002 U.S. Dist. LEXIS 21109 (N.D. Cal. Oct. 22, 2002) ......................8

                    13   Church of Scientology v. United States Dep’t. of Army,
                            611 F.2d 738 (9th Cir. 1980).......................................................................................................8
                    14
                         Continental Grain Co. v. The FBL-585,
                    15
                            364 U.S. 19 (1960) ..............................................................................................................12, 13
                    16
                         Glob. Music Rights, LLC v. Radio Music License Comm., Inc.,
                    17      2017 WL 3449606 (C.D. Cal. Apr. 7, 2017) ............................................................................11

                    18   Gustavson v. Mars, Inc.,
                            2014 WL 6986421 (N.D. Cal. Dec. 10, 2014) ..........................................................................10
                    19
                         Hilton v. Apple Inc.,
                    20       No. C-13-2167, 2013 WL 5487317 (N.D. Cal. Oct. 1, 2013).....................................................8
                    21
                         Inherent.com v. Martindale-Hubbell,
                    22      420 F. Supp. 2d 1093 (N.D. Cal. 2006) ..........................................................................8, 10, 14

                    23   Intersearch Worldwide, Ltd. v. Intersearch Grp., Inc.,
                             544 F. Supp. 2d 949 (N.D. Cal. 2008) ..................................................................................8, 11
                    24
                         Jolly v. Purdue Pharma L.P.,
                    25       2005 WL 2439197 (S.D. Cal. Sept. 28, 2005) .........................................................................12
                    26   Jones v. Spherion Staffing LLC,
                    27      2012 WL 3264081 (C.D. Cal. Aug. 7, 2012) ..............................................................................9

                    28   Keller v. Amazon,
MORGAN, LEWIS &
                            N.D. Cal., Case No. 3:17-cv-02219 ..............................................................................1, 4, 6, 14
 BOCKIUS LLP
                                                                                                             CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                                              ii              AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                                         STAY OR TRANSFER ACTION
                            Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 6 of 23



                     1   King-Scott v. Univ. Med. Pharm. Corp.,
                            2010 WL 1815431 (S.D. Cal. May 6, 2010) .......................................................................12, 13
                     2
                         Knipe v. Amazon,
                     3
                            S.D. Cal., Case No. 17-cv-1889 ........................................................................................ passim
                     4
                         Minor v. Sotheby’s Inc.,
                     5      2009 WL 55589 (N.D. Cal. Jan. 7, 2009) .................................................................................11

                     6   Pacesetter Sys., Inc. v. Medtronic, Inc.,
                            678 F.2d 93 (9th Cir. 1982)...................................................................................................8, 14
                     7
                         PETA, Inc. v. Beyond the Frame, Ltd.,
                     8      2011 WL 686158 (C.D. Cal. Feb. 16, 2011) .........................................................................8, 14
                     9
                         Ponce v. Amazon,
                    10      N.D. Cal., Case No. 3:19-cv-00288 ....................................................................................1, 6, 7

                    11   Rittmann et al., v. Amazon,
                             W.D. Wash., Case No. 2:16-cv-01554 .............................................................................. passim
                    12
                         Ronquillo v. Amazon.com, Inc.,
                    13      C.D. Cal., Case No. 2:19-cv-00207-AB............................................................................1, 7, 14
                    14
                         Schwartz v. Frito-Lay N. Am.,
                    15      2012 WL 8147135 (N.D. Cal. Sept. 12, 2012) .........................................................................14

                    16   Van Dusen v. Barrack,
                            376 U.S. 612 (1964) ..................................................................................................................12
                    17
                         Wentz v. Taco Bell Corp.,
                    18     2012 WL 6021367 (E.D. Cal. Dec. 4, 2012).........................................................................9, 11
                    19   STATE CASES
                    20
                         Esparza v. KS Indus., LP,
                    21      13 Cal. App. 5th 1228, 1242 (2017) ........................................................................................15

                    22   Iskanian v. CLS Transp. L.A., LLC,
                             59 Cal. 4th 348 (2014) ..............................................................................................................15
                    23
                         FEDERAL STATUTES
                    24
                         28 U.S.C. § 1404(a) ..................................................................................................................12, 13
                    25
                         Federal Rule of Civil Procedure 12(b)(6) ...................................................................................4, 15
                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                                               CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                                              iii               AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                                           STAY OR TRANSFER ACTION
                            Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 7 of 23



                     1   STATE STATUTES
                     2   California Labor Code
                            § 201 ............................................................................................................................................5
                     3
                            § 202 ............................................................................................................................................5
                     4      § 203 ......................................................................................................................................5, 15
                            § 204 ............................................................................................................................................5
                     5      § 226(a) .......................................................................................................................................5
                            § 226.3 .........................................................................................................................................5
                     6      § 226.7 .........................................................................................................................................5
                            § 226.8 .........................................................................................................................................5
                     7
                            § 432.5 .......................................................................................................................................14
                     8      § 512 ............................................................................................................................................5
                            § 558 ............................................................................................................................................5
                     9      § 1174(d) .....................................................................................................................................3
                            § 1194 ..........................................................................................................................................5
                    10      § 1194.2 .......................................................................................................................................5
                    11      § 1197.1(a) ..................................................................................................................................5
                            § 2699(a) ...............................................................................................................................5, 15
                    12      § 2699(f) ......................................................................................................................................5
                            § 2802 ..........................................................................................................................................5
                    13
                         OTHER AUTHORITIES
                    14
                         Dirk Clinton v. Amazon.com, Inc., et al.,
                    15      Orange County Superior Court, Case No. 30-2017-00938102-CU-0E-CXC .................1, 5, 6, 7
                    16
                         Iskanian v. CLS Transp. Los Angeles, LLC,
                    17       No. BC356521 (Sup. Ct. L.A. Cnty. Nov. 25, 2016) .........................................................11, 15

                    18   Lawson/Mack, No. 16-01554 ........................................................................................................2, 3

                    19   Luckett et al., v. Amazon,
                            Alameda County Superior Court, Case No. RG18923557 .............................................1, 5, 6, 7
                    20
                         New Prime Inc. v. Oliveira,
                    21      2019 WL 189342 (2019) .............................................................................................................3
                    22
                         Romero et al. v. Amazon,
                    23      Orange County Superior Court, Case No. 30-2018-01031789-CU-OE-CXC ....................1, 6, 7

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                                                     CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                                                   iv                 AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                                                 STAY OR TRANSFER ACTION
                              Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 8 of 23



                     1   I.       INTRODUCTION

                     2            Defendants Amazon.com, Inc.1 and Amazon Logistics, Inc. (collectively, “Defendants” or

                     3   “Amazon”) move to dismiss, stay or transfer this duplicative PAGA lawsuit of Plaintiff Sean

                     4   Hoyt (“Plaintiff”). Plaintiff’s action should be dismissed, stayed or transferred because Plaintiff

                     5   is an alleged “aggrieved employee” and/or putative class member in no fewer than nine earlier-

                     6   filed actions – the first of which was filed in federal court over two years before Plaintiff’s tag-

                     7   along lawsuit, and all of which assert the identical theory that California-based Amazon Flex

                     8   Delivery Partners were misclassified as independent contractors.

                     9            In particular, six federal court cases,2 all filed before this action, allege the identical
                    10   misclassification theory on behalf of California-based Amazon Flex Delivery Partners and related

                    11   Labor Code claims. Additionally, three California state court actions,3 also filed before Plaintiff’s

                    12   action, likewise assert the identical misclassification theory and related Labor Code claims.

                    13   Further, seven of these nine pending cases include PAGA claims, brought on behalf of the same

                    14   putative aggrieved employees that include the Plaintiff here: Rittmann, Knipe, Clinton, Luckett,

                    15   Ponce, Romero, and Ronquillo.4

                    16            Under well-established principles, including the first-to-file rule, this action should be

                    17   dismissed, stayed or transferred in light of the pending cases. Doing so will avoid unnecessary

                    18   expenditure of judicial and party resources — without prejudice to the interests of any party —

                    19   and will further eliminate the risk of conflicting rulings. Any transfer should be to the Western
                    20   District of Washington, where the first-filed putative class and PAGA action (Rittmann) is

                    21
                         1
                           Amazon.com, Inc. is an erroneously named Defendant. Plaintiff contracted with Amazon
                    22   Logistics, Inc. to work as a Delivery Partner in the Amazon Flex program.
                         2
                           Rittmann et al., v. Amazon, W.D. Wash., Case No. 2:16-cv-01554 and the consolidated case
                    23   Mack v. Amazon, W.D. Wash., Case No. 2:16-cv-01554; Keller v. Amazon, N.D. Cal., Case No.
                         3:17-cv-02219; Knipe v. Amazon, S.D. Cal., Case No. 17-cv-1889; Ponce v. Amazon, N.D. Cal.,
                    24   Case No. 3:19-cv-00288; and Ronquillo v. Amazon.com, Inc., C.D. Cal., Case No. 2:19-cv-00207-
                         AB.
                    25
                         3
                           Dirk Clinton v. Amazon.com, Inc., et al., Orange County Superior Court, Case No. 30-2017-
                    26   00938102-CU-0E-CXC; Luckett et al., v. Amazon, Alameda County Superior Court, Case No.
                         RG18923557; and Romero et al. v. Amazon, Orange County Superior Court, Case No. 30-2018-
                    27   01031789-CU-OE-CXC.
                         4
                           The plaintiff in Ronquillo intends to file a First Amended Complaint containing a PAGA claim
                    28     on or before February 22, 2019. See Ronquillo, Dkt. #15.
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                           CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                               1            AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                       STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 9 of 23



                     1   pending. Additionally, if the Court does not transfer the action, it should dismiss and/or strike,

                     2   with prejudice, Plaintiff’s improper waiting time penalties claim under PAGA because these

                     3   statutory penalties cannot be recovered under PAGA.

                     4   II.      RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

                     5            A.     The Amazon Flex Program.
                     6            Many products purchased through Amazon are delivered by third-party delivery

                     7   providers, including FedEx, UPS, and the U.S. Postal Service. Amazon also contracts with

                     8   individual independent contractors like Plaintiff who are crowdsourced through a smartphone-

                     9   application-based program known as Amazon Flex. Delivery partners like Plaintiff sign up to
                    10   participate in the Amazon Flex program and then use their personal transportation to make

                    11   deliveries. Plaintiff worked as a Delivery Partner until June of 2018. See Complaint, ¶ 1, 26.

                    12            B.     Amazon Flex Independent Contractor Terms of Service.
                    13            To sign up for Amazon Flex, individuals must download the Amazon Flex app on their

                    14   smartphone and accept the Independent Contractor Terms of Service (“TOS”). Plaintiff’s

                    15   Complaint acknowledges that downloading and using the Amazon Flex app on his phone was

                    16   necessary in order to begin making deliveries under the Flex program. See Complaint, ¶¶ 12, 13,

                    17   14, 23. The Amazon Flex app presents prospective Delivery Partners with the TOS on-screen.

                    18   See Declaration of K. Bowers in Support of Motion to Dismiss, Lawson/Mack, Case No. 17-cv-

                    19   02515-AB-RAO, Dkt. # 20-2, ¶¶ 5-11, Amazon’s Request for Judicial Notice (“RJN”), Ex. B.
                    20   The TOS is also accessible to Delivery Partners in the Account/View Legal Information section

                    21   of the Amazon Flex app. Id., ¶ 8. Here, Plaintiff’s delivery of packages under the Flex program

                    22   confirms his agreement to the Flex TOS. See Complaint, ¶¶ 1, 6, 27, 28.

                    23            C.     Other Previously-Filed Pending Delivery Partner Cases.

                    24                   1.     Rittmann et al. – Western District of Washington – Consolidated with
                                                Lawson/Mack
                    25

                    26            Filed on October 4, 2016, Rittmann is now a consolidated collective, putative class and

                    27   PAGA action pending in the Western District of Washington (“Rittmann”). Filed more than two

                    28   years before this action and brought against the same Defendants, Rittman alleges, as here, that
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                       CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                            2           AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                   STAY OR TRANSFER ACTION
                             Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 10 of 23



                     1   Amazon Delivery Partners were misclassified as independent contractors, and asserts class and

                     2   PAGA representative action claims based on alleged violations of the California Labor Code, as

                     3   well as FLSA collective action claims (and Washington law claims). Rittmann was originally

                     4   filed as a class and collective action. See Rittmann, No. 16-01554 (W.D. Wash.), Dkt. #1

                     5   (“Rittmann Compl.”) ¶¶ 2-5, 14; RJN Ex. A.5 On March 31, 2017, Lawson, who is also a

                     6   plaintiff in Rittmann, filed a PAGA claim against Defendants Amazon.com, Inc. and Amazon

                     7   Logistics, Inc. in the Central District of California. See Lawson/Mack, No. 16-01554 (W.D.

                     8   Wash.), Dkt. #1 (“Lawson Compl.”) ¶¶ 2-5; RJN, Ex. D. This PAGA claim, also seeking to

                     9   represent California Delivery Partners, asserts claims for “[alleged] failure to reimburse delivery
                    10   drivers for all necessary business expenses,” and for failure to provide accurate, itemized wage

                    11   statements. See id. at ¶¶ 2, 14. It further seeks additional penalties under Labor Code § 1174(d),

                    12   “for failure to maintain ‘payroll records showing the hours worked daily by and the wages paid

                    13   to. . . employees employed’ in California.” Id. at ¶ 14. On July 26, 2017, the Lawson complaint

                    14   was amended to substitute a new plaintiff, Iain Mack, as the named plaintiff and withdraw

                    15   Lawson from the action. See Lawson/Mack Dkt. #19 (the “Am. Compl.”); see also Dkt. #15;

                    16   RJN, Ex. E.

                    17            On September 19, 2017, the district court granted Amazon’s motion to transfer the case to

                    18   the Western District of Washington based on the first-filed rule. See Lawson/Mack, Dkt. # 25;

                    19   RJN, Ex. F. After Lawson/Mack was transferred, the parties stipulated to consolidate
                    20   Lawson/Mack with Rittmann and the Court ordered consolidation on November 14, 2017. See

                    21   Rittmann, Dkt. # 87; RJN, Ex. G. The California class, PAGA, and FLSA collective action

                    22   claims for minimum wage, overtime, business expenses, and penalties seek to cover all California

                    23   Delivery Partners, including Plaintiff. The case was stayed pending the United States Supreme

                    24   Court’s decision in New Prime Inc. v. Oliveira, 2019 WL 189342 (2019), but since that decision

                    25   was issued, the parties have agreed to partially lift the stay for the purpose of briefing the impact

                    26   of New Prime on Amazon’s pending motion to compel arbitration. See Dkt. # 101; RJN, Ex. T.

                    27   5
                           On April 20, 2017, the plaintiffs filed a Second Amended Complaint, pursuant to which they
                         also seek “injunctive relief directing Amazon to comply with…California state law.” See id., Dkt.
                    28   # 83 (emph. added); RJN, Ex. C.
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                        CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                            3            AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                    STAY OR TRANSFER ACTION
                             Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 11 of 23



                     1                   2.     Knipe v. Amazon – Southern District of California

                     2            On August 9, 2017, Persis Knipe filed a putative class action complaint in San Diego

                     3   County Superior Court against Defendants, Case No. 37-2017- 00029426-CU-OE-CTL; RJN, Ex.

                     4   H, alleging misclassification of Delivery Partners and claims for unfair competition, failure to pay

                     5   minimum and overtime wages, inaccurate wage statements, and failure to reimburse business

                     6   expenses. Amazon removed the action to the Southern District of California, where it was

                     7   assigned Case No. 3:17-cv-01889 WHQJMA. On October 6, 2017, the court granted the parties’

                     8   stipulation and joint motion to stay the case pending the Supreme Court’s decision in Ernst &

                     9   Young LLP v. Morris. See Dkt. # 8; RJN, Ex. I.6 On October 17, 2017, the Knipe plaintiff filed a

                    10   first amended complaint (“FAC”), adding a sixth cause of action for violation of PAGA. See Dkt.

                    11   # 9; RJN, Ex. J. As such, the operative complaint in Knipe seeks to bring misclassification-based

                    12   class and PAGA claims on behalf of California Delivery Partners, including Plaintiff. The case

                    13   remains stayed pending further order from the court.

                    14                   3.     Keller v. Amazon - Northern District of California

                    15            On March 13, 2017, Delivery Partners Kimberlee Keller and Tommy Garadis filed a

                    16   putative class action complaint in San Francisco County Superior Court against Defendants, Case

                    17   No. CGC-17-557507; RJN, Ex. K, also asserting that California Delivery Partners were

                    18   improperly classified and alleging claims for failure to pay all wages due, failure to pay overtime

                    19   and minimum wages, failure to provide meal and rest periods, waiting time penalties, failure to

                    20   reimburse for necessary business expenses, and willful misclassification. Amazon removed the

                    21   action to the Northern District of California, where it was assigned Case No. 4:17-cv-02219-

                    22   DMR. Amazon then filed motions to (1) compel individual arbitration of the plaintiff’s claims or

                    23   stay the case pending the Supreme Court’s decision in Morris, Epic Systems Corp., and Murphy

                    24   Oil, and (2) transfer the action under the first-filed rule or dismiss certain claims under Rule

                    25   12(b)(6). On August 21, 2017, the court ordered the case stayed pending the Supreme Court’s

                    26   decision. See Keller Dkt. #35; RJN, Ex. L.

                    27
                         6
                          Amazon intends to move, among other things, for a transfer to the Western District of
                    28   Washington after the stay is lifted.
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                        CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                            4            AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                    STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 12 of 23



                     1            On December 6, 2018, the parties filed a stipulation to maintain the stay in light of

                     2   ongoing litigation at the Supreme Court and Ninth Circuit related to the aforementioned motions,

                     3   which the court granted on December 7, 2018. See Dkt. # 53, RJN, Ex. M.

                     4                   4.      Clinton v. Amazon – Orange County Superior Court
                     5            On August 16, 2017, Dirk Clinton filed a UCL and putative PAGA action against

                     6   Defendants in Orange County Superior Court, Case No. 30-2017-00938102, alleging that

                     7   California-based Amazon Flex Delivery Partners were misclassified as independent contractors

                     8   and seeking PAGA penalties. See Clinton Complaint; RJN, Ex. N. On April 3, 2018, Amazon

                     9   filed a motion to stay or dismiss in light of Rittmann, et al. and other previously filed actions. On
                    10   October 18, 2018, the Clinton court continued Amazon’s motion to February 28, 2019, effectively

                    11   staying the case pending developments in the previously filed actions. See Clinton Minute Order;

                    12   RJN, Ex. O. On February 4, 2019, the Court continued the hearing on Amazon’s motion to

                    13   March 28, 2019. See Clinton Minute Order; RJN, Ex. P.

                    14                   5.      Luckett et al. v. Amazon – Alameda County Superior Court
                    15            On October 19, 2018, Linda Luckett and Renee Jordan filed a complaint in Alameda

                    16   County Superior Court against Defendants and Amazon.com, LLC, alleging the same

                    17   misclassification theory as all of the above cases and claiming PAGA violations based on

                    18   California Labor Code §§ 226(a), 201, 202, and 203, 226.8, 2802, 204, 1194, 1194.2, 226.7, and

                    19   512. See Luckett Complaint; RJN, Ex. Q. Plaintiffs’ Prayer requests “statutory and civil penalties
                    20   pursuant to Labor Code §§ 226.3, 226.8, 558, 1197.1(a), 2699(a) and (f)” as well as “other such

                    21   relief as the court deems just and proper.” See id. Like the previously filed actions, the Luckett

                    22   plaintiffs seek to maintain a putative PAGA action on behalf of California-based Delivery

                    23   Partners. Id. On December 11, 2018, Amazon filed a motion to compel arbitration of Plaintiff’s

                    24   arbitrable claims for unpaid wages, and to stay the representative PAGA claim, or alternatively to

                    25   stay or dismiss the action in light of all the previously-filed same or similar actions. On January

                    26   31, 2019, the Luckett court continued the hearing on Amazon’s motion to April 5, 2019.

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                        CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                             5           AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                    STAY OR TRANSFER ACTION
                             Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 13 of 23



                     1                   6.     Ponce v. Amazon – Northern District of California

                     2            On November 1, 2018, Delivery Partner Adriana Ponce filed a putative class action

                     3   complaint against Amazon Logistics, Inc., Amazon.com Services, Inc.7 and others in Marin

                     4   County Superior Court, Case No. CIV1803937; RJN, Ex. R, also asserting that California

                     5   Delivery Partners were improperly classified as independent contractors and alleging claims for

                     6   failure to reimburse for necessary business expenses, failure to pay minimum wage, failure to

                     7   provide meal and rest periods, failure to pay overtime, failure to furnish accurate wage

                     8   statements, failure to pay wages when due and waiting time penalties, and violation of the unfair

                     9   competition law. On December 4, 2018, Ponce amended her complaint to add a separate claim

                    10   for violation of PAGA. See Dkt. # 1-2; RJN. Ex. S. Amazon removed the action to the Northern

                    11   District of California, where it was assigned Case No. 3:17-cv-00288. Amazon filed an

                    12   administrative motion under the Local Rules to have this case related to the Keller matter, which

                    13   the court in Keller granted on February 12, 2019. See Dkt. # 20; RJN, Ex. U.

                    14                   7.     Romero v. Amazon – Orange County Superior Court

                    15            On November 7, 2018, Jennifer Romero filed a complaint in Orange County Superior

                    16   Court against Amazon Logistics, Inc. and Amazon.com Services, Inc. asserting the same

                    17   misclassification theory as all the above cases and seeking to recover penalties under PAGA. The

                    18   lawsuit alleged that defendants (1) failed to pay all earned overtime; (2) failed to pay minimum

                    19   wages for all hours worked; (3) failed to provide meal periods; (4) failed to provide rest periods;

                    20   (5) failed to reimburse business expenses; (6) failed to provide wage statements; (7) failed to pay

                    21   all final wages; (8) failed to pay wages at least twice per month; and (9) failed to maintain

                    22   accurate records. Like the first-filed Rittmann – Lawson/Mack, Knipe, Clinton, Luckett, and

                    23   Ponce actions, Romero seeks to maintain a putative PAGA action on behalf of the same group of

                    24   alleged aggrieved persons – California-based Delivery Partners – for the same or similar alleged

                    25   violations of the Labor Code. See Romero Complaint; RJN, Ex. V. On February 11, 2019,

                    26   Amazon filed a motion to stay or dismiss the action on the basis that it was duplicative of the

                    27   seven previously-filed pending cases. See RJN, Ex. W.

                    28   7
                             Amazon.com Services, Inc. is a subsidiary of Defendant Amazon.com, Inc.
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                       CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                            6           AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                   STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 14 of 23



                     1                   8.      Ronquillo v. Amazon – Central District of California

                     2            On November 15, 2018, former California Delivery Partner Louie Ronquillo filed a

                     3   putative class action lawsuit against Amazon.com, Inc. in Los Angeles County Superior Court,

                     4   Case No. 18STCV05155, alleging the following claims: (1) misclassification; (2) failure to

                     5   provide rest breaks; (3) failure to provide meal breaks; (4) failure to pay minimum and overtime

                     6   wages; (5) failure to pay all wages due to quitting and terminated employees, including waiting-

                     7   time penalties; (6) failure to pay all wage due; (7) failure to reimburse employment related

                     8   expenses; (8) failure to provide sick leave; (9) failure to provide split-shift premiums; (10) failure

                     9   to provide accurate pay statements; and (11) unlawful business practices. See Complaint, ¶¶ 16-

                    10   58; RJN, Ex. X. On January 9, 2019, Amazon removed the action to the Central District of

                    11   California, where it was assigned Case No. 2:19-cv-00207. See Dkt. # 1, RJN, Ex. Y. On

                    12   February 14, 2019, the parties filed a stipulation to permit Plaintiff to file a First Amended

                    13   Complaint adding a PAGA claim and set Amazon’s deadline to respond to the complaint to 21

                    14   days following plaintiff’s filing of the First Amended Complaint. See Dkt. # 15, RJN, Ex. Z.

                    15                   9.      Plaintiff’s Action

                    16            On January 11, 2019, Plaintiff filed this action alleging the same misclassification theory

                    17   as all the above cases and seeking to recover penalties under PAGA for alleged Labor Code

                    18   violations based on alleged (1) intentional misclassification; (2) overtime violations; (3) failure to

                    19   reimburse necessary business expenses; (4) failure to provide meal periods; (5) failure to provide

                    20   rest periods; (6) failure to provide itemized wage statements; and (7) failure to timely pay all final

                    21   wages. Complaint, ¶ 32. Plaintiff additionally seeks a PAGA penalty for allegedly requiring

                    22   putative aggrieved employees to agree to contract terms that Amazon knows or should know are

                    23   unlawful. Id. Again, as with the first-filed Rittmann – Lawson/Mack, Knipe, Clinton, Luckett,

                    24   Ponce, Romero, and Ronquillo actions, Plaintiff seeks to maintain a putative PAGA action on

                    25   behalf California-based Delivery Partners for the same or similar alleged violations of the Labor

                    26   Code. Indeed, the only alleged violation here that is not covered by at least one of the other

                    27   previously-filed actions is for “Illegal Contract Terms.” However, because such a claim can only

                    28   be brought by an employee, it is tied to Plaintiff’s misclassification theory.
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                        CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                            7            AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                    STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 15 of 23



                     1   III.     ARGUMENT

                     2            A.      Under the First-to-File Rule, This Action Should Be Dismissed, Stayed or
                                          Transferred to the Rittmann Court.
                     3

                     4            The first-to-file rule is a principle of federal comity that permits a district court to decline

                     5   jurisdiction over an action when a complaint involving the same parties and issues has already

                     6   been filed in another district. Pacesetter Sys., Inc. v. Medtronic, Inc., 678 F.2d 93, 94-95 (9th Cir.

                     7   1982). Under this rule, a district court has the authority to dismiss, transfer or stay “an action

                     8   when a similar complaint has already been filed in another federal court.” Alltrade, Inc. v.

                     9   Uniweld Prods., Inc., 946 F.2d 622, 623 (9th Cir. 1991). Transfer is proper where, as here, “the

                    10   court of first filing provides adequate remedies.” Intersearch Worldwide, Ltd. v. Intersearch

                    11   Grp., Inc., 544 F. Supp. 2d 949, 963 (N.D. Cal. 2008) (citing Alltrade, 946 F.2d at 627-28).

                    12            Exercising this authority does “not require identical issues or parties so long as the actions

                    13   involve closely related questions or common subject matter.” Centocor, Inc. v. MedImmune, Inc.,

                    14   No. C 02-03252 CRB, 2002 U.S. Dist. LEXIS 21109, *11 (N.D. Cal. Oct. 22, 2002); see also

                    15   Hilton v. Apple Inc., No. C-13-2167, 2013 WL 5487317, at *11 (N.D. Cal. Oct. 1, 2013); PETA,

                    16   Inc. v. Beyond the Frame, Ltd., 2011 WL 686158, at *2 (C.D. Cal. Feb. 16, 2011). This is

                    17   particularly true where, as here, dismissal, stay or transfer will “promote efficiency and [] avoid

                    18   duplicative litigation,” Inherent.com v. Martindale-Hubbell, 420 F. Supp. 2d 1093, 1099 (N.D.

                    19   Cal. 2006) (holding first-filed doctrine applied where resolution of later-filed claims in California

                    20   would “be intimately intertwined with the factual and legal considerations” underlying related,

                    21   but not identical, claims pending in New Jersey). See also Intersearch Worldwide, 544 F. Supp.

                    22   2d at 959 n.6, 963 (dismissing action under first-to-file rule where later-filed claims also would be

                    23   resolved by “underlying facts . . . front and center” in the first-filed action: “[E]xact identity is not

                    24   required to satisfy the first-to-file rule.”) (citations omitted). “Comity works most efficiently

                    25   where previously-filed litigation is brought promptly to the attention of the district court, and the

                    26   court defers.” Church of Scientology v. United States Dep’t. of Army, 611 F.2d 738, 750 (9th Cir.

                    27   1980) (internal citations omitted).

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                          CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                               8           AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                      STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 16 of 23



                     1            Here, the requirements of the first-to-file rule are met, as Judge Birotte of the Central

                     2   District of California previously found in transferring the Mack PAGA action to the Western

                     3   District of Washington. Since Judge Birotte’s decision, the basis for dismissal or stay is even

                     4   stronger given all the other now-pending misclassification actions. The basis for a transfer to the

                     5   Western District is also now stronger because a PAGA action is now part of the claims in

                     6   Rittmann, the first-filed misclassification action. The issues and parties are substantially similar

                     7   in both actions so as to warrant application of the first-to-file rule. Rittmann has California class

                     8   and PAGA claims, the putative FLSA collective action also seeks to include California Delivery

                     9   Partners in an overtime claim, and the claims are fundamentally premised on the theory that
                    10   Delivery Partners were misclassified as independent contractors.

                    11            As noted by Judge Birotte in his order transferring Mack to the Western District of

                    12   Washington (where Rittmann is pending), the threshold issue was the same in both cases: “Both

                    13   cases will require the court to determine whether Amazon misclassified delivery drivers as

                    14   independent contractors….” See 17-cv-02515-AB-RAO, Dkt. # 25, RJN, Ex. F. Likewise, here

                    15   the underlying issue of alleged misclassification of Delivery Partners is the same as in the

                    16   consolidated Rittmann action. Also as in Rittmann, Plaintiff alleges similar underlying violations

                    17   of failure to pay overtime wages, failure to provide itemized wage statements, and failure to

                    18   reimburse necessary business expenses.

                    19            Even if Rittmann did not include a PAGA claim that seeks to represent Hoyt (which it
                    20   does), the underlying Labor Code violations pled as class claims in Rittmann – on behalf of a

                    21   putative class that includes Hoyt – are part of the basis for Plaintiff’s PAGA claim. Thus any

                    22   rulings on these claims by the Rittmann court may impact Plaintiff’s PAGA claim. See, e.g.,

                    23   Wentz v. Taco Bell Corp., 2012 WL 6021367, at *5 (E.D. Cal. Dec. 4, 2012) (dismissing PAGA

                    24   claim because plaintiff failed to assert valid, underlying California Labor Code claims: “The

                    25   PAGA claim derives from California Labor Code claims. Without them, there is no substantive

                    26   basis to assert a PAGA claim.”); Jones v. Spherion Staffing LLC, 2012 WL 3264081, at *10 (C.D.

                    27   Cal. Aug. 7, 2012) (dismissing PAGA claims where plaintiffs failed to state a claim with respect

                    28   to underlying California Labor Code violations). There is no good reason for this Court to have
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                         CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                             9            AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                     STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 17 of 23



                     1   to duplicate the work of its sister court in Washington, much less other courts where previously-

                     2   filed similar actions are pending, or to create a risk of inconsistent rulings, especially given that

                     3   Judge Coughenour is already familiar with the issues and already has a PAGA claim pending

                     4   before him that that overlaps with Plaintiff’s claim.

                     5            Furthermore, as was the case in the actions before Judge Birotte, the parties here are also

                     6   substantially similar: the defendants are exactly the same, and Plaintiff is a member of the

                     7   putative class in Rittmann and the putative PAGA group of allegedly aggrieved employees in the

                     8   Mack case that was already transferred and consolidated with Rittmann. There is also significant

                     9   similarity among the parties in the other pending putative class/PAGA actions. In the context of a
                    10   class action, “the classes, and not the class representatives, are compared,” Adoma v. Univ. of

                    11   Phoenix, Inc., 711 F. Supp. 2d 1142, 1147 (E.D. Cal. 2010), and the same reasoning should apply

                    12   to a representative action with respect to the putative aggrieved employees, as is the case here, as

                    13   Judge Birotte found when he ordered his PAGA case in Mack transferred to the Rittmann court.

                    14            The overlap in claims, parties, and evidence would mean that multiple federal courts and

                    15   defendants would be forced to litigate the same case absent a dismissal, stay or transfer.

                    16   Avoiding this scenario is the very reason courts enforce the first-to-file rule. See, e.g.,

                    17   Inherent.com, 420 F. Supp. 2d at 1097 (purpose of the first-to-file rule is to “promote efficiency

                    18   and to avoid duplicative litigation”). The equities therefore favor dismissal, stay or transfer. As

                    19   Judge Birotte held in his order transferring Mack, “[b]ecause both claims involve the
                    20   determination of whether violations occurred under the California Labor Code for the same set of

                    21   individuals, conflicting judgments are a distinct possibility.” See 17-cv-02515-AB-RAO, Dkt. #

                    22   25, RJN, Ex. F. The same is true here. Accordingly, as dictated by the first-to-file rule, the Court

                    23   should dismiss or stay this action, or transfer the action to the Western District of Washington.

                    24   Alltrade, 946 F.2d at 628.

                    25            Given all the previously-filed actions, the case can also be dismissed or stayed under the

                    26   first-to-file rule. “A district court has the inherent power to stay its proceedings. This power to

                    27   stay is incidental to the power inherent in every court to control the disposition of the causes on

                    28   its docket with economy of time and effort for itself, for counsel, and for litigants.” Gustavson v.
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                         CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                            10            AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                     STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 18 of 23



                     1   Mars, Inc., 2014 WL 6986421, at *2 (N.D. Cal. Dec. 10, 2014) (citation and internal quotation

                     2   marks omitted).

                     3            Courts in this Circuit have recognized that “[s]eparating [a] PAGA claim from its

                     4   predicate wage and hour and related claims is piecemeal litigation,” which “overwhelmingly

                     5   supports issuance of a stay.” Wentz, 2012 WL 6021367, at *6 (emph. added). For this reason,

                     6   courts have stayed or dismissed PAGA actions when the underlying Labor Code claims are

                     7   pending in another court or compelled to arbitration. See, e.g., id. (dismissing and remanding

                     8   PAGA claim to state court overseeing underlying California Labor Code claim); Iskanian v. CLS

                     9   Transp. Los Angeles, LLC, No. BC356521 (Sup. Ct. L.A. Cnty. Nov. 25, 2016) (staying PAGA
                    10   claims pending arbitration of underlying California Labor Code claims).

                    11            Thus, in addition to the authority for dismissing or staying this action under the first-to-

                    12   file rule, Alltrade, 946 F.2d at 628, the derivative nature of Plaintiff’s PAGA claim provides

                    13   another, independent basis for issuing a stay. Allowing Plaintiff to proceed separately in this

                    14   Court while the underlying misclassification-based Labor Code claims are litigated in another

                    15   forum would waste the resources of the Court and the parties, and potentially result in an

                    16   inconsistent adjudication of overlapping claims.

                    17            Plaintiff may claim that litigating in the Northern District is more convenient for him, but

                    18   this should be immaterial given his allegation that he now resides in Arizona, Complaint, ¶ 6, 29,

                    19   nor is that consideration controlling here. See Glob. Music Rights, LLC v. Radio Music License
                    20   Comm., Inc., 2017 WL 3449606, at *7 (C.D. Cal. Apr. 7, 2017) (“Moreover, though it may be

                    21   more convenient for Plaintiff to litigate here than in Pennsylvania, the first-to-file rule counsels

                    22   that judicial efficiency generally outweighs the convenience of the parties.”) Further, the Court

                    23   can also dismiss Plaintiff’s action rather than transferring it, making his residence wholly

                    24   irrelevant. See, e.g., Minor v. Sotheby's Inc., 2009 WL 55589, *1 (N.D. Cal. Jan. 7, 2009)

                    25   (dismissing second-filed putative class action in California in favor of first-filed non-class action

                    26   in New York where the issues and were substantially similar); Intersearch Worldwide, 544 F.

                    27   Supp. 2d at 959 n.6, 963 (dismissing action under first-to-file rule where later-filed claims also

                    28   would be resolved by “underlying facts . . . front and center” in the first-filed action.”).
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                         CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                             11           AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                     STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 19 of 23



                     1            B.     Transfer Is Also Appropriate Pursuant to 28 U.S.C. § 1404(a).

                     2            The many reasons that support transferring this action under the first-to-file rule apply

                     3   with equal force under 28 U.S.C. § 1404(a), which provides that “[f]or the convenience of parties

                     4   and witnesses, in the interest of justice, a district court may transfer any civil action to any other

                     5   district or division where it might have been brought or to any district or division to which all

                     6   parties have consented.” “The purpose of § 1404(a) is to ‘prevent the waste of time, energy and

                     7   money and to protect litigants, witnesses and the public against unnecessary inconvenience and

                     8   expense.’” King-Scott v. Univ. Med. Pharm. Corp., 2010 WL 1815431, at *1 (S.D. Cal. May 6,

                     9   2010) (quoting Van Dusen v. Barrack, 376 U.S. 612, 616 (1964)). Each of these factors weighs

                    10   in favor of transferring this action to the Western District of Washington.

                    11            First, this action could have been brought in the Western District of Washington, where

                    12   Amazon has its principal place of business. Second, as to convenience, there is no reason to

                    13   believe that litigating Plaintiff’s derivative PAGA claim in Washington will be less convenient

                    14   than currently litigating a PAGA claim here and PAGA and class claims in Washington. If

                    15   anything, transferring venue will “ease the access to evidence and proof, as there is likely to be

                    16   substantial overlap between the discovery in this case and that in” Rittmann. King-Scott, 2010

                    17   WL 1815431, at *2. As importantly, transferring this action to Washington where Rittmann is

                    18   pending will be substantially more convenient for the many witnesses who otherwise would be

                    19   forced to testify about identical claims in two separate actions.

                    20            Third, transferring this action to the court where the Rittmann action is being litigated

                    21   would well serve the “interest of justice.” 28 U.S.C. § 1404(a). This factor dictates that cases

                    22   may be transferred to promote the efficient use of judicial resources, to avoid unnecessary waste

                    23   and expense, and to avoid inconsistent adjudications. See Continental Grain Co. v. The FBL-585,

                    24   364 U.S. 19, 26-27 (1960); King-Scott, 2010 WL 1815431, at *2. Transfer pursuant to § 1404(a)

                    25   is particularly appropriate where it will prevent a party from having to defend the same claim in

                    26   two different District Courts. King-Scott, 2010 WL 1815431, at *2 (transferring action to join

                    27   claims with lawsuit that “allege[d] substantially similar claims against the same defendant and

                    28   [sought] redress for the same class of people over the same period of time”); Jolly v. Purdue
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                         CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                             12           AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                     STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 20 of 23



                     1   Pharma L.P., 2005 WL 2439197, at *2 (S.D. Cal. Sept. 28, 2005) (“‘The pendency of related

                     2   actions in the transferee forum is a significant factor in considering the interest of justice factor.’”

                     3   (quoting A.J. Industries, Inc. v. U.S. Dist. Ct. for Cen. Dist. of Cal., 503 F.2d 384, 389 (9th Cir.

                     4   1974))). Indeed, “[t]o permit a situation in which two cases involving precisely the same issues

                     5   are simultaneously pending in different District Courts leads to the wastefulness of time, energy

                     6   and money that § 1404(a) was designed to prevent.” Continental Grain Co., 364 U.S. at 26.

                     7            For all these the reasons, transferring this action to the Western District of Washington

                     8   “would avoid duplicative litigation, further judicial economy and prevent the waste of resources.”

                     9   King-Scott, 2010 WL 1815431, at *2. Moreover, Plaintiff’s choice of forum is “not dispositive
                    10   [under] § 1404(a) . . . and cannot be used to completely bar transfer of venue where, as here,

                    11   substantial judicial resources will be saved and the fear of inconsistent outcomes will be abated

                    12   by transferring venue.” Id. Indeed, “where. . . a plaintiff asserts his or her claims on behalf of a

                    13   class, a plaintiff’s choice of forum is given less weight.” Id. (internal citations omitted). There is

                    14   no reason for a different rule to apply to a PAGA representative claim.

                    15            Fourth, due to the parties’ extensive briefing, Judge Coughenour is already familiar with

                    16   the claims that form the basis of this action, as well as the key factual and legal issues behind

                    17   Plaintiff’s misclassification theory that largely parrots the allegations raised in Rittmann. Judge

                    18   Coughenour’s familiarity with the issues at the heart of Plaintiff’s claim, further weighs in favor

                    19   of dismissing or transferring this action, particularly considering that this case is in its infancy.
                    20   See Cadenasso v. Metro. Life Ins. Co., 2014 WL 1510853, at *23-24 (N.D. Cal. Apr. 15, 2014)

                    21   (finding transfer appropriate under § 1404(a) where first-filed court is familiar with the facts

                    22   underlying later-filed action); King-Scott, 2010 WL 1815431, at *2 (to determine whether transfer

                    23   is appropriate, courts look to “the court most familiar with the claims between parties”). See also

                    24   B & B Hardware, Inc. v. Hargis Indus., Inc., 2006 WL 4568798, at *6 (C.D. Cal. Nov. 30, 2006)

                    25   (finding transfer appropriate under § 1404(a) where first-filed court is best positioned “to

                    26   formulate the most efficient discovery and pretrial plan for the parties to avoid duplicative,

                    27   unnecessary discovery efforts”).

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                         CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                             13           AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                     STAY OR TRANSFER ACTION
                             Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 21 of 23



                     1            C.     This Action Should Be Dismissed in Light of Knipe, Keller and Ronquillo.

                     2            Because this action also overlaps with the earlier-filed Knipe, Keller and Ronquillo

                     3   putative class and PAGA actions asserted on behalf of California Delivery Partners, the Court has

                     4   a separate basis to simply dismiss this action. Dismissal is appropriate because (1) Knipe, Keller

                     5   and Ronquillo were first-filed, (2) they involve the same California Delivery Partners and the

                     6   same defendants, and (3) they assert and seek recovery premised upon nearly identical alleged

                     7   Labor Code violations. Indeed, the Knipe and Ronquillo plaintiffs seek recovery of PAGA

                     8   penalties for nearly all of alleged violations of the Labor Code alleged in Hoyt, with the exception

                     9   of a few minor differences.8 However, these minor differences are not material because for the

                    10   first-to-file rule to apply, the issues in the two actions need not be identical. Inherent.com, 420 F.

                    11   Supp. 2d at 1097. “The issues need not be precisely identical for the first-to-file rule to apply[;]

                    12   the rule can apply even if the later-filed action brings additional claims.” Schwartz v. Frito-Lay N.

                    13   Am., 2012 WL 8147135, at *2, *3 (N.D. Cal. Sept. 12, 2012). See also Pacesetter, 678 F.2d at

                    14   95–6 (finding the first-to-file rule applicable where “two actions differ only as to the remedy

                    15   sought”, but the underlying legal issues were the same). Here, the underlying conduct

                    16   complained of – alleged misclassification – is identical in all of the pending actions.

                    17            Finally, there are compelling equitable considerations for dismissing this action. As

                    18   Rittmann, Knipe, Ronquillo, and this action involve the determination of whether violations

                    19   occurred under the Labor Code for the same set of individuals, conflicting judgments are a

                    20   distinct possibility. See PETA, Inc., 2011 WL 686158, at * 1 (stating that the first-to-file rule “is

                    21   designed to avoid placing an unnecessary burden on the federal judiciary, and to avoid the

                    22   embarrassment of conflicting judgments”). Also, the fact that Rittmann, Knipe, Ronquillo, and

                    23   Hoyt purport to represent California Delivery Partners under PAGA, and that Plaintiff is

                    24   subsumed within the putative classes and alleged aggrieved employees, supports dismissal. See,

                    25   e.g., Carrera v. First Am. Home Buyers Prot. Co., 2009 WL 10674763, at *3 (C.D. Cal. Nov. 30,

                    26   8
                           Unlike in Hoyt, the Knipe action does not include a claim for section 226.3 PAGA penalties, but
                         it does include a claim for “default” PAGA penalties for violation of the exact same Labor Code
                    27   provision governing wage statements – section 226(a). The Knipe and Ronquillo actions also do
                         not include a PAGA claim for violation of Labor Code section 432.5 for an illegal contract term.
                    28   However, as discussed above, this claim is dependent on the misclassification theory.
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                        CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                            14           AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                    STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 22 of 23



                     1   2009) (“Given the significant overlap between the Diaz and Carrera actions, most notably the

                     2   identical class definitions, dismissal would be permissible.”).
                                 D.      The Court Should Dismiss and/or Strike Plaintiff’s PAGA Claim for Section
                     3                   203 Statutory Penalties.
                     4            Further, under Fed. R. Civ. P. 12(b)(6) or 12(f), the Court should dismiss and/or strike

                     5   Plaintiff’s PAGA claim for waiting time penalties pursuant to Labor Code section 203 because

                     6   these are statutory penalties, and PAGA only authorizes the recovery of civil penalties. See Cal.

                     7   Lab. Code § 2699(a). In this regard, PAGA was enacted because prior to PAGA, civil penalties

                     8   were only recoverable by the state and “there was a shortage of government resources to pursue

                     9   enforcement.” Iskanian v. CLS Transp. L.A., LLC, 59 Cal. 4th 348, 379 (2014).
                    10            Labor Code section 203 provides for statutory waiting time penalties that have always

                    11   been recoverable in private actions by employees, unlike civil penalties. See, e.g., Esparza v. KS

                    12   Indus., LP, 13 Cal. App. 5th 1228, 1242 (2017) (California Supreme Court referred to section 203

                    13   as providing an example of “statutory damages” that an employee may collect in his individual

                    14   capacity, and although the statute refers to the amount “as a penalty,” it does not constitute a

                    15   “civil penalty” because it is payable to employees and not a state agency) (citing Iskanian, 59 Cal.

                    16   4th at 381. Indeed, the court unequivocally held in Iskanian that penalties under section 203

                    17   constitute “statutory penalties” as opposed to “civil penalties,” and therefore are not recoverable

                    18   under PAGA. Id. See also Caliber Bodyworks, Inc., 134 Cal. App. 4th 365, 377-78 (2005).

                    19   Because Plaintiff’s only cause of action is pursuant to PAGA, he cannot recover waiting time
                    20   penalties under Labor Code section 203 as that claim is pled in the Complaint. Accordingly, this

                    21   portion of his PAGA claim must be dismissed and/or stricken without leave to amend.

                    22   ////

                    23   ////

                    24   ////

                    25   ////

                    26   ////

                    27   ////

                    28   ////
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                        CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                            15           AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                    STAY OR TRANSFER ACTION
                           Case 3:19-cv-00218-JSC Document 16 Filed 02/20/19 Page 23 of 23



                     1   IV.      CONCLUSION

                     2            For all of the foregoing reasons, Amazon requests that the Court dismiss this action, stay

                     3   it, or transfer it to the Western District of Washington. Amazon further requests, in the

                     4   alternative, that the Court dismiss and/or strike Plaintiff’s improper waiting time penalties claim

                     5   seeking statutory penalties that cannot be recovered under PAGA.

                     6   Dated: February 20, 2019                            MORGAN, LEWIS & BOCKIUS LLP
                     7

                     8                                                       By /s/ John S. Battenfeld
                                                                                John S. Battenfeld
                     9                                                          Brian D. Fahy
                                                                                Linda Z. Shen
                    10                                                          Amy A. McGeever
                    11                                                           Attorneys for Defendants
                                                                                 AMAZON.COM, INC. and
                    12                                                           AMAZON LOGISTICS, INC.
                    13

                    14

                    15

                    16

                    17

                    18

                    19
                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                                       CASE NO. 3:19-CV-00218; DEFENDANTS' MOTION
 ATTORNEYS AT LAW
  SAN FRANCISCO                                                           16           AND MEMO OF PS&AS ISO MOTION TO DISMISS,
                         DB2/ 35921471                                                                   STAY OR TRANSFER ACTION
